     Case:19-13953-KHT Doc#:33 Filed:09/23/19          Entered:09/23/19 15:26:34 Page1 of 1




         UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO


In re:

Lexington Village One Condominium Association, Inc.
Movant,

v.

Stephanie L. Smallfoot
ssn: xxx-xx-8680
                                                      CASE NO.: 19-13953-KHT
Debtors,                                              Chapter 13
___________________________________________________________________________

                         ORDER TO APPROVE STIPULATION
___________________________________________________________________________

       THE COURT, having reviewed the Stipulation for Post-Petition HOA Assessments and Motion
to Approve Stipulation submitted by the parties, and being advised, hereby

       ORDERS that the Motion is granted, and the terms of the Stipulation are approved and made an
Order of this Court.



Dated: September 23, 2019



                                                             _________________________________
                                                              ______________________________
                                                                Bankruptcy Judge
